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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,     )           CR 13-00860(05) LEK
                                )           CV 16-00331 LEK-RLP
             Plaintiff,         )
                                )
       vs.                      )
                                )
  ROBIN LEE,                    )
                                )
             Defendant.         )
  _____________________________ )


           ORDER DENYING MOTION TO CORRECT SENTENCE UNDER
     28 U.S.C. § 2255 AND DENYING A CERTIFICATE OF APPEALABILITY

              Before the Court is pro se Defendant/Petitioner

  Robin M. Lee’s (“Lee”) Motion under 28 U.S.C. § 2255 to Vacate,

  Set Aside, or Correct Sentence by a Person in Federal Custody

  (“§ 2255 Motion”), filed on June 20, 2016.              [Dkt. nos. 1030

  (§ 2255 Motion), 1031 (memorandum in support).1]

  Plaintiff/Respondent the United States of America (“the

  Government”) filed its response to the § 2255 Motion (“Response”)

  on August 31, 2016.      [Dkt. nos. 1058 (Response), 1059 (sealed

  exhibits).]    After careful consideration of the § 2255 Motion,

  the supporting and opposing memoranda, and the relevant legal

  authority, Lee’s § 2255 Motion is HEREBY DENIED, and a

  certificate of appealability is also DENIED, for the reasons set

  forth below.

        1
         The § 2255 Motion is filed both in United States v. Lee,
  CR 13-00860(05) LEK, and Lee v. United States, CV 16-00331 LEK-
  RLP. In this Order, unless otherwise specified, all citations to
  the record refer to the filings in CR 13-00860.
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                                  BACKGROUND

              On September 12, 2013, Lee and seventeen others were

  indicted in an eleven-count Indictment.           [Dkt. no. 1.]      The

  Indictment alleged that the defendants, and others, “were members

  and associates of a criminal organization in Hawaii known as the

  ‘USO Family,’ whose members and associates engaged in acts

  involving narcotics trafficking, violence, threats of violence,

  bribery, and fraud.”2      [Indictment at 2.]       Lee was indicted for

  racketeering conspiracy, in violation of 18 U.S.C. § 1962(d)

  (“Count One”), [id. at 7-9,] and seven counts of making false

  claims to the United States Government, in violation of 18 U.S.C.

  § 287 (“Counts Five-Eleven”) [id. at 13-14].

              Lee initially entered a plea of not guilty, [Minutes,

  filed 11/20/13 (dkt. no. 183),] but, on July 30, 2014, he

  withdrew his plea and entered a plea of guilty to Count One,

  pursuant to a plea agreement.          [Dkt. nos. 416 (Minutes), 423

  (Memorandum of Plea Agreement (“Plea Agreement”)).]              In the Plea

  Agreement, Lee acknowledged that the conduct which formed the

  basis of Counts Five-Eleven would be considered by this Court at

  sentencing.    [Plea Agreement at ¶ 4.]         As of May 5, 2014, Gurmail

  “Gary” Singh, Esq., represented Lee.          [CJA 20 form, filed 5/9/14

  (dkt. no. 304).]


        2
         “The USO Family was formed in the State of Hawaii prison
  system, but operates both inside and outside the State of Hawaii
  Department of Public Safety prison system.” [Indictment at 3.]

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               This Court held Lee’s sentencing hearing on December 4,

  2014.   [Minutes, filed 12/4/14 (dkt. no. 766).]           It accepted the

  plea agreement and adopted the factual findings in the

  presentence report.      [Presentence Investigation Report (“PSR”),

  filed 12/12/14 (dkt. no. 774).]        The PSR found that Lee’s base

  offense level for conspiracy to possess with intent to distribute

  methamphetamine and marijuana was fourteen, with a two-level

  increase because the conspiracy involved the distribution of a

  controlled substance in a correctional facility, and another two-

  level increase for bribing a law enforcement officer, resulting

  in an adjusted offense level of nineteen because the offense

  level was less than the minimum alternative level.             [Id. at

  ¶¶ 71-76.]    For the mail fraud and wire fraud activities, the

  base offense level was seven, with a twelve-level increase for

  the actual or intended tax loss, and a four-level increase for a

  leadership role in the offense, for an adjusted offense level of

  twenty-three.     [Id. at ¶¶ 77-82.]       The PSR took the greater of

  the two offense levels, with a two-level adjustment, for a

  combined adjusted offense level of twenty-five.            After a total

  decrease of three levels for acceptance of responsibility, Lee’s

  total offense level was twenty-two.         [Id. at ¶¶ 84-90.]       His

  criminal history category was VI.          [Id. at ¶ 134.]     His

  imprisonment range under the United States Sentencing Guidelines

  (“U.S.S.G.” or “the Guidelines”) was therefore 84 to 105 months,


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  and his range for supervised release was 1 to 3 years.               [Id. at

  ¶¶ 202, 205.]     The PSR noted that restitution in the amount of

  $353,810.00 to the Internal Revenue Service (“IRS”) was to be

  ordered pursuant to the plea agreement.           [Id. at ¶ 212.]

               This Court sentenced Lee to 105 months of imprisonment

  and three years of supervised release, and it ordered Lee to pay

  $353,810.00 in restitution and a $100 special assessment.               This

  Court granted the Government’s oral motion to dismiss Counts Five

  through Eleven.        [Minutes, filed 12/4/14 (dkt. no. 766).]         The

  Judgment in a Criminal Case was filed on December 8, 2014.               [Dkt.

  no. 769.]

               Lee filed his Notice of Appeal on December 16, 2014.

  [Dkt. no. 777.]        Lee’s counsel filed a brief pursuant to Anders

  v. California, 386 U.S. 738 (1967) (“Anders Brief”), along with a

  motion to withdraw as counsel.          [United States v. Lee, No. 14-

  10553 (9th Cir.) (“Lee Appeal”), Appellant’s Opening Brief &

  Motion to Be Relieved of Counsel Pursuant to Filing an Anders

  Brief on Behalf of Appellant Robin Lee, filed 4/9/15 (dkt. nos.

  8-1, 8-2).]    Lee filed a pro se supplemental opening brief on

  June 1, 2015.     [Id., dkt. no. 15.]       The Ninth Circuit Court of

  Appeals disposed of the appeal and granted the motion to withdraw

  in a memorandum disposition, filed on August 5, 2015 (“Memorandum

  Opinion”).    [Dkt. no. 920.]      The Ninth Circuit affirmed the

  Judgment as to the amount of restitution ordered and declined to


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  review Lee’s ineffective assistance claims.              It dismissed the

  remainder of Lee’s appeal in light of the valid waiver of his

  appeal rights.     The Ninth Circuit issued its Mandate on August

  28, 2015.    [Dkt. no. 922.]

              In the § 2255 Motion, Lee argues that: 1) his guilty

  plea “was unlawfully induced, not made voluntarily and without

  understanding the consequences of the plea” (“Ground One”);

  [§ 2255 Motion at 5;] and 2) he was denied the effective

  assistance of counsel, in violation of the Sixth Amendment to the

  United States Constitution (“Ground Two”) [id. at 6].              In

  addition, although not identified as numbered grounds in the

  § 2255 Motion, Lee raises the following arguments in his

  Memorandum in Support: prosecutorial misconduct deprived him of a

  fair trial and of his right to appeal, in violation of the Fifth

  Amendment (“Ground Three”); a challenge to the amount of the

  restitution order (“Ground Four”); a challenge to the imposition

  of the four-point enhancement for a leadership role

  (“Ground Five”); and an argument that his sentence should be

  overturned because it does not reflect his significant history of

  mental illness and substance abuse and because it is

  disproportionate to the sentences given to his co-defendants

  (“Ground Six”).        Lee cites various events which occurred during

  the course of this case that he alleges support each ground.                The

  Government responds that all of Lee’s arguments, except for those


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  asserting ineffective assistance of counsel, are waived in light

  of the Plea Agreement and the Ninth Circuit’s Memorandum Opinion.

  The Government also argues that Lee has failed to establish that

  his counsel rendered ineffective assistance.

                                   STANDARD

              Section 2255(a) states:

              A prisoner in custody under sentence of a court
              established by Act of Congress claiming the right
              to be released upon the ground that the sentence
              was imposed in violation of the Constitution or
              laws of the United States, or that the court was
              without jurisdiction to impose such sentence, or
              that the sentence was in excess of the maximum
              authorized by law, or is otherwise subject to
              collateral attack, may move the court which
              imposed the sentence to vacate, set aside or
              correct the sentence.

  This district court has described the standards applicable to

  § 2255 motions as follows:

                   A court may dismiss a § 2255 motion if “it
              plainly appears from the motion, any attached
              exhibits, and the record of prior proceedings that
              the moving party is not entitled to relief.”
              R. 4(b), Rules Governing Section 2255 Proceedings.
              A court need not hold an evidentiary hearing if
              the allegations are “palpably incredible [or]
              patently frivolous,” Blackledge v. Allison, 431
              U.S. 63, 76 (1977), or if the issues can be
              conclusively decided on the basis of the evidence
              in the record. See United States v. Mejia-Mesa,
              153 F.3d 925, 929 (9th Cir. 1998) (noting that a
              “district court has discretion to deny an
              evidentiary hearing on a § 2255 claim where the
              files and records conclusively show that the
              movant is not entitled to relief”). . . .

  Leon v. United States, Civ. No. 15-00099 JMS-BMK, 2015 WL

  3965895, at *4 (D. Hawai`i June 29, 2015) (some alterations in

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  Leon).

              The issues raised in Lee’s § 2255 Motion are legal

  issues that “can be conclusively decided on the basis of the

  evidence in the record,” including the record of the underlying

  proceedings.    See Mejia-Mesa, 153 F.3d at 929.          This Court has

  previously concluded that an evidentiary hearing is not necessary

  in this case.     See Order Denying Def.’s Request for an

  Evidentiary Hearing & Denying Def.’s Request for the Appointment

  of Counsel, filed 9/7/16 (dkt. no. 1062).

                                  DISCUSSION

  I.    Waiver and the Law of the Case

              At the outset, the Government argues that this Court

  cannot consider Lee’s arguments, except for those associated with

  Ground Two, because Lee waived his right to bring such challenges

  on appeal and on collateral review.         In the Plea Agreement, Lee

  agreed:

                   14. Defendant is aware that he has the right
              to appeal his conviction and the sentence imposed.
              Defendant knowingly waives the right to appeal,
              except as indicated in subparagraph “b” below, his
              conviction and any sentence within the maximum
              provided in the statute(s) of conviction or the
              manner in which that sentence was determined, on
              any ground whatever, in exchange for the
              concessions made by the prosecution in this plea
              agreement.

                        a.   Defendant also waives his right to
              challenge his conviction or sentence or the manner
              in which it was determined in any collateral
              attack, including, but not limited to, a motion
              brought under Title 28, United States Code,

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              Section 2255, except that defendant may make such
              a challenge (1) as indicated in subparagraph “b”
              below, or (2) based on a claim of ineffective
              assistance of counsel.

                        b.   If the Court imposes a sentence
              greater than specified in the guideline range
              determined by the Court to be applicable to
              Defendant, Defendant retains the right to appeal
              the portion of his sentence greater than specified
              in that guideline range and the manner in which
              that portion was determined under Section 3742 and
              to challenge that portion of his sentence in a
              collateral attack.

  [Plea Agreement at 9.]

              This Court acknowledges that Lee has taken the position

  that the Plea Agreement is invalid because, among other things,

  he asserts that he did not enter into the Plea Agreement

  knowingly and voluntarily.       However, the Ninth Circuit has

  already held that Lee made a valid waiver of his right to appeal

  his conviction and sentence, except for challenges to the amount

  of the restitution order.      [Memorandum Opinion at 2.]         The Ninth

  Circuit’s ruling “is the law of the case,” and this Court must

  follow it in considering Lee’s § 2255 Motion.            See United States

  v. Jingles, 702 F.3d 494, 498 (9th Cir. 2012) (citing In re

  Rainbow Magazine, Inc., 77 F.3d 278, 281 (9th Cir. 1996) (“[T]he

  decision of an appellate court on a legal issue must be followed

  in all subsequent proceedings in the same case”); Odom v. United

  States, 455 F.2d 159, 160 (9th Cir. 1972) (“The law in this

  circuit is clear that when a matter has been decided adversely on

  appeal from a conviction, it cannot be litigated again on a 2255

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  motion”) (some citations omitted)).

              Because the Ninth Circuit has already ruled that the

  waiver of Lee’s appellate and collateral review rights in the

  Plea Agreement is valid, this Court DENIES Lee’s § 2255 Motion as

  to Ground One.

              Lee’s waiver of his appellate and collateral review

  rights was subject to only two exceptions – ineffective

  assistance of counsel and the imposition of a sentence that

  exceeded either the statutory maximum or the Guideline range

  applicable to him.      Because there was no express exception for

  prosecutorial misconduct, Lee also waived any argument – on

  appeal or on collateral review – alleging prosecutorial

  misconduct.    See, e.g., United States v. Dykstra, No. 93-55747,

  1994 WL 5726, at *2 (9th Cir. Jan. 7, 1994) (holding that the

  defendant was “precluded from raising these issues [of alleged

  prosecutorial misconduct] in her § 2255 motion because she made a

  knowing and voluntary waiver of her right to appeal in her plea

  agreement” (citing United States v. Broce, 488 U.S. 563, 569

  (1989); United States v. Abarca, 985 F.2d 1012, 1014 (9th Cir.

  1993) (some citations omitted))); United States v. Coleman, Case

  No. 11-cr-00904-PJH-1, 2015 WL 1548986, at *3 (N.D. Cal. Apr. 7,

  2015) (noting in order dismissing a § 2255 motion that, “[b]y

  entering the plea agreement, . . . movant waived any claim of

  prosecutorial misconduct or request to withdraw the guilty


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plea”).   In addition, Lee also waived the arguments that he

raises in Ground Five and Ground Six.

            This Court therefore DENIES Lee’s § 2255 Motion as to

Ground Three, Ground Five, and Ground Six, based on the valid

waiver in his Plea Agreement of his appellate and collateral

review rights.

            Ground Four challenges the amount of the restitution

order.    The Ninth Circuit held that Lee’s Plea Agreement did not

waive his right to challenge the amount of restitution.           However,

it also held that its “independent review of the record pursuant

to Penson v. Ohio, 488 U.S. 75, 80 (1988), disclose[d] no

arguable grounds for relief on direct appeal as to the amount of

restitution ordered by the district court.”        [Memorandum Opinion

at 2.]    In Penson, the United States Supreme Court stated:

            Once the appellate court receives th[e Anders]
            brief, it must then itself conduct “a full
            examination of all the proceeding[s] to decide
            whether the case is wholly frivolous.” [Anders,
            386 U.S. 738.] Only after this separate inquiry,
            and only after the appellate court finds no
            nonfrivolous issue for appeal, may the court
            proceed to consider the appeal on the merits
            without the assistance of counsel.

488 U.S. at 80 (some alterations in Penson).        In Lee’s direct

appeal, the Ninth Circuit conducted a full examination of the

record and found that there was no nonfrivolous issue for appeal

of the restitution order.      Thus, the Ninth Circuit’s affirmance

of the restitution order precludes the arguments that Lee now


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brings in Ground Four.

           In the alternative, even if the Ninth Circuit’s holding

in the direct appeal only precludes arguments that Lee expressly

raised in his direct appeal, Ground Four raises the same

challenges to the restitution order as those presented in Lee’s

direct appeal.   In the § 2255 Motion, Lee argues that the

restitution award: included alleged losses from returns that were

not part of the conspiracy; exceeded the amount of the actual

loss because there was no proof that his co-conspirators received

and cashed all of the tax return checks; was disproportionate to

the restitution awards in his co-conspirators’ sentences; and

imposes a severe hardship on him during his incarceration, and

will continue to impose a severe hardship after his release.               He

also argues that all of these errors show that this Court

improperly determined the restitution amount, in violation of his

constitutional right to due process.

           The law of the case doctrine would preclude this Court

from revisiting Lee’s challenges to the restitution order if the

are same arguments that the Ninth Circuit rejected in his direct

appeal.   The Anders brief that Lee’s counsel filed in his direct

appeal argued that the Ninth Circuit should vacate the

restitution award because: 1) the Government failed to meet its

burden of proof as to the amount of restitution because it

presented no facts or evidence to support the amount of the


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award; [Lee Appeal, Anders Brief at 31-33;] 2) the amount of

restitution should not have included the alleged losses

associated with Counts Five-Eleven, which were dismissed; [id. at

33;] 3) although acts that Lee co-defendants committed were

considered in the determination of Lee’s sentence, he was the

only one ordered to pay the total restitution amount; [id. at 33-

34;] and 4) the restitution portion of Lee’s sentence was

substantively unreasonable [id. at 35-37].        Lee made similar

argument in the supplemental brief that he filed pro se.

          Thus, the Ninth Circuit has already considered and

rejected the arguments that Lee raises in the § 2255 Motion

regarding the sufficiency of the evidence and the reasonableness

of the restitution award.      It does not appear that Lee raised the

due process argument during his direct appeal.         However, the

Ninth Circuit’s holding that there was no error in the

determination of the restitution award necessarily means that

Lee’s cumulative effect/due process argument also fails.

          Because the Ninth Circuit has already affirmed the

restitution order, this Court DENIES Lee’s § 2255 Motion as to

Ground Four.   The only issue raised in the § 2255 Motion which is

properly before this Court is Ground Two, which alleges that Lee

received constitutionally ineffective assistance of counsel




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before the district court.3

II.    Ineffective Assistance of Counsel

             This district court has stated:

                  To prevail on an ineffective assistance
             claim, a petitioner must show that (1) counsel’s
             representation fell below an objective standard of
             reasonableness, and (2) there is a reasonable
             probability that, but for counsel’s unprofessional
             errors, the result of the proceeding would have
             been different. Strickland v. Washington, 466
             U.S. 668, 687-88 (1984). That is, the petitioner
             must also show that the deficiency was
             prejudicial. Id. at 692.

                  Counsel “is strongly presumed to have
             rendered adequate assistance and made all
             significant decisions in the exercise of
             reasonable professional judgment.” Id. at 690.
             But, a court need not determine whether counsel’s
             performance was deficient before examining the
             prejudice suffered by the petitioner as a result
             of the alleged deficiencies. See id. at 697. In
             other words, any deficiency that does not result
             in prejudice necessarily fails.

United States v. Chaves, Cr. No. 14-00579 JMS (03), 2016 WL

5660327, at *4 (D. Hawai`i Sept. 28, 2016).           As to the

reasonableness prong, a court must “determine whether, in light

of all the circumstances, the identified acts or omissions were

outside the wide range of professionally competent assistance.”

Strickland, 466 U.S. at 690.         As to the prejudice prong, “the

defendant must show that there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and


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       This Court does not construe Lee’s § 2255 Motion as
alleging that his appellate counsel rendered ineffective
assistance.

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would have insisted on going to trial.”        Hill v. Lockhart, 474

U.S. 52, 59 (1985).    Lee bears the burden of proof as to both

prongs of the Strickland analysis.       See Turk v. White, 116 F.3d

1264, 1265 (9th Cir. 1997).

           Lee alleges multiple ways that Mr. Singh rendered

ineffective assistance during the period prior to the entry of

Lee’s guilty plea.    The Strickland analysis is applicable to

those claims.   See Hedlund v. Ryan, 815 F.3d 1233, 1250 (9th Cir.

2016) (quoting Hill v. Lockhart, 474 U.S. 52, 57, 106 S. Ct. 366,

88 L. Ed. 2d 203 (1985)).      Further, in the plea context, the

Strickland analysis “is based on ‘counsel’s judgment and

perspective when the plea was negotiated, offered and entered,’

not on a post-adjudication assessment of the case.”          Baldwin v.

Muniz, Case No. 14-cv-03271-JST(PR), 2016 WL 97454, at *6 (N.D.

Cal. Jan. 8, 2016) (quoting Premo v. Moore, 562 U.S. 115, 126

(2011)).   In Premo, the United States Supreme Court stated:

           The art of negotiation is at least as nuanced as
           the art of trial advocacy, and it presents
           questions farther removed from immediate judicial
           supervision. There are, moreover, special
           difficulties in evaluating the basis for counsel’s
           judgment: An attorney often has insights borne of
           past dealings with the same prosecutor or court,
           and the record at the pretrial stage is never as
           full as it is after a trial. In determining how
           searching and exacting their review must be,
           habeas courts must respect their limited role in
           determining whether there was manifest deficiency
           in light of information then available to
           counsel. . . .

562 U.S. at 125.

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     A.      Advising Lee to Accept the Plea Agreement

             Lee’s primary argument regarding the plea stage is that

Mr. Singh rendered ineffective assistance because he advised Lee

to enter into a plea agreement which was not favorable to Lee.

Lee contends that Mr. Singh should have either tried to negotiate

terms that would have resulted in a lower offense level or taken

Lee’s case to trial.        Lee contends that a trial would have

resulted in a more favorable outcome.

             Lee’s entry of a guilty plea resulted in a three-level

decrease in his offense level for acceptance of responsibility.

Without the reductions for acceptance of responsibility, Lee’s

Guidelines sentencing range would have been 110 to 137 months of

imprisonment, instead of 84 to 105 months.          See U.S.S.G.

Sentencing Table.    Lee could have received a sentence that was up

to thirty-two months longer than the sentence that he actually

received.    The Plea Agreement also included the Government’s

agreement to dismiss Counts Five-Eleven, which the Government did

at the sentencing hearing.        Had Lee proceeded to trial on all

counts and been convicted, he faced the possibility of

consecutive sentences, and he avoided that possibility because

the Plea Agreement only required him to plead guilty to

Count One.    Further, although not expressly stated in the Plea

Agreement, as part of the plea negotiations, the Government

agreed not to prosecute Lee for crimes that he allegedly


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committed while being held at the Federal Detention Center in

Honolulu while his case was pending.       [Submission of Exhs. 4, 5,

and 7 in Supp. of Government’s Response to Section 2255 Motion,

filed 8/31/16 (dkt. no. 1059) (“Sealed Exhibits”), Exh. 5 (Decl.

of Counsel Gurmail “Gary” Singh (“Singh Decl.”)) at ¶ 8.]

           Mr. Singh and Lee met with IRS Special Agent

Mark MacPherson (“Agent MacPherson”) in early July 2014, and

Agent MacPherson presented the evidence that the Government had

against Lee.   According to Mr. Singh, the evidence “included

transactions that could not be denied.”        [Id. at ¶ 9.]     Mr. Singh

advised Lee that going to trial would be “a very bad idea” and

that he would likely receive a lower sentence by pleading guilty

than he would receive if he went to trial and was convicted.

[Id.]   Mr. Singh’s determinations that he could not negotiate a

plea agreement which would result in a lower offense level and

that proceeding to trial would likely result in a higher sentence

were decisions of litigation strategy.       Lee has not identified

any evidence or legal support for his claim that Mr. Singh could

have negotiated for a lower offense level or that a trial would

have resulted in a more favorable outcome.

           This Court FINDS that the Plea Agreement was beneficial

to Lee, and, under the circumstances which existed at the time of

the plea negotiations, Mr. Singh’s recommendation that Lee enter

into the Plea Agreement was within the range of professionally


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competent assistance.       Because Mr. Singh’s advice was reasonable,

this Court does not need to address the second Strickland factor.

This Court CONCLUDES that Lee has failed to establish that

Mr. Singh rendered ineffective assistance when he advised Lee to

enter into the Plea Agreement.

     B.   Preservation of Rights

          Lee also argues that Mr. Singh rendered ineffective

assistance because he failed to preserve Lee’s right to appeal

and to seek collateral review.       Mr. Singh was aware that it was

standard practice for the United States Attorney’s Office to

include waivers of the defendant’s appellate rights and

collateral review rights in their plea agreements.           Mr. Singh did

not ask the Government to omit the waivers in Lee’s Plea

Agreement because he thought such a request would be futile,

particularly because Lee “had already changed his mind about

pleading guilty in the course of a plea hearing.”           [Id. at ¶ 6.]

Lee has not identified any evidence or legal authority supporting

his position that effective counsel could have preserved Lee’s

appellate and collateral review rights.

          This Court FINDS that, under the circumstances which

existed at the time of the plea negotiations, Mr. Singh’s

decision not to request the exclusion of the standard appellate

and collateral review waivers from Lee’s Plea Agreement was a

litigation strategy decision that was within the range of


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professionally competent assistance.       Because Mr. Singh’s

decision was reasonable, this Court does not need to address the

second Strickland factor.      This Court CONCLUDES that Lee has

failed to establish that Mr. Singh rendered ineffective

assistance because he failed to preserve Lee’s appellate and

collateral review rights in the Plea Agreement.

     C.    Amount of Bribes Stipulated to
           and Amount of Restitution Agreed to

           The Plea Agreement states, inter alia, that: Lee agreed

to pay restitution in the amount of $353,810.00; [Plea Agreement

at ¶ 7.b;] and the parties stipulated that Lee was responsible

for more than $10,000 but less than $30,000 in bribes [id. at

¶ 11.b(i)].   As to the restitution amount, Lee alleges that:

1) Mr. Singh never went over the discovery materials with him;

2) when the IRS agent finally provided Lee with the discovery

materials, Lee discovered that there were forty tax returns that

he did not file; and 3) if those forty returns had not been

considered, it would have lowered the restitution amount by

$50,000.   As to the amount of bribes, Lee alleges that he

informed Mr. Singh that there were errors in the Plea Agreement –

and the PSR – but Mr. Singh failed to correct them.

           Mr. Singh states that: both he and Lee’s former counsel

provided Lee with the discovery in this case; and he “discussed

the discovery at length with [Lee].”       [Singh Decl. at ¶ 3.]

Mr. Singh also denies that Lee expressed concern about the

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stipulation to the amount of bribes, and Mr. Singh states that,

based on his careful review of the discovery, he believed that

Lee was involved in more than $10,000 worth of bribes.           Mr. Singh

“believed that, strategically, agreeing to the stipulation made

sense: it was likely to be imposed by the Court and Mr. Lee’s

owning up to it would likely gain some favor with the Court.”

[Id. at ¶ 5.]

          There is a dispute between Lee’s claims that Mr. Singh

never reviewed the discovery with him and that Lee informed

Mr. Singh about the error in the amount of the bribes referred to

in the Plea Agreement and PSR and Mr. Singh’s contrary statements

in his declaration.    Ordinarily, an evidentiary hearing would be

required to resolve this factual dispute.        See United States v.

Mejia-Mesa, 153 F.3d 925, 929 (9th Cir. 1998) (noting that a

“district court has discretion to deny an evidentiary hearing on

a § 2255 claim where the files and records conclusively show that

the movant is not entitled to relief”).        However, an evidentiary

hearing is not necessary in the instant case because, even if

this Court accepts as true Lee’s statements that Mr. Singh did

not review the discovery with him and Mr. Singh did not act upon

the errors that Lee pointed out regarding the amount of bribes,

that alone is not sufficient to show that Mr. Singh rendered

constitutionally ineffective assistance.




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             Lee’s position is essentially that Mr. Singh was

ineffective because Mr. Singh’s analysis of the amount of bribes

and the amount of restitution Lee would ultimately be found

responsible for was incorrect.      Lee has the burden of proving

that Mr. Singh’s performance was deficient.        Although Lee alleges

that there were errors in the Plea Agreement’s and the PSR’s

discussions of the amount of bribes he was responsible for, Lee

does not identify what those errors were or how reasonable

counsel could have corrected them.       As to the restitution amount,

Lee alleges that there were over forty tax returns that he “did

not file.”    [Mem. in Supp. of § 2255 Motion at 13.]        Lee has not

identified these tax returns and, moreover, the restitution

amount was not limited to the fraudulent tax returns that Lee

himself filed.    Lee also assisted another inmate – Co-Defendant

Billy Wond – in preparing tax returns in Wond’s name, and Lee and

Wond directed the preparation and submission of tax returns

through surrogates outside of prison.       See PSR at ¶ 23.      Lee has

not identified any evidence or legal authority to support his

position that the forty tax returns should not have been

considered in determining his restitution amount.

             This Court CONCLUDES that Lee has failed to carry his

burden to prove that Mr. Singh’s performance fell below an

objective standard of reasonableness as to the amount of the

bribes that Lee would be held responsible for and the amount of


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Lee’s restitution.    In light of this Court’s ruling, it does not

need to address the second Strickland factor.        This Court

CONCLUDES that Lee has failed to establish that Mr. Singh

rendered ineffective assistance as to the amount of bribes that

Lee would be found responsible for and the amount of Lee’s

restitution.

     D.   Joint and Several Liability for Restitution

          In the context of Ground One, which alleges that he did

not knowingly and voluntarily enter into the Plea Agreement, Lee

alleges that Mr. Singh erroneously informed him that the

restitution amount would be divided among the co-conspirators.

[Mem. in Supp. of § 2255 Motion at 5.]       This Court must liberally

construe Lee’s filings because he is proceeding pro se.           See,

e.g., Pregana v. CitiMortgage, Inc., Civil No. 14-00226 DKW-KSC,

2015 WL 1966671, at *2 (D. Hawai`i Apr. 30, 2015) (“The Court

liberally construes the [plaintiffs’] filings because they are

proceeding pro se.” (citing Eldridge v. Block, 832 F.2d 1132,

1137 (9th Cir. 1987))).     This Court therefore construes the

§ 2255 Motion as also alleging that Mr. Singh rendered

ineffective assistance because he incorrectly advised Lee that

his co-defendants would be jointly and severally liable for the

restitution that this Court ordered.

          In the § 2255 Motion, Lee alleges that Mr. Singh

“misinformed” him that the restitution amount “would be divided


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accordingly among all co-conspirators.”        [Mem. in Supp. of § 2255

Motion at 5.]   Lee therefore assumed that he would have to repay

less than $50,000, and he pled guilty based on that assumption.

[Id.]    Mr. Singh acknowledges that he “did tell Mr. Lee that

restitution would be imposed joint and several with the other

defendants involved in the tax scheme.”        [Singh Decl. at ¶ 14.]

            The following co-defendants were charged in Count One

with Lee, and their respective sentences included an order to pay

restitution to the IRS: Charlie Esera – $889.85; [Judgment in a

Criminal Case, filed 11/17/14 (dkt. no. 749), at 6;] Billy Wond –

$1,607.00 [Judgment in a Criminal Case, filed 12/19/14 (dkt. no.

791), at 6;] David Kahui – $692.00; [Judgment in a Criminal Case,

filed 2/10/15 (dkt. no. 848), at 6;] and Opherro Jones –

$4,576.00 [Judgment in a Criminal Case, filed 5/29/15 (dkt. no.

914), at 6].4   In addition, Agent MacPherson states:

            M.G., a cooperating defendant, was ordered to pay
            restitution to the IRS, joint and several with
            Mr. Lee, under a different cause number. The
            result of these restitution orders is Mr. Lee will
            not be solely responsible for the restitution
            amount ordered against him. The IRS will credit
            Mr. Lee with any restitution paid by the other
            defendants in their cases, and will similarly
            credit him with any restitution paid by the non-
            defendant taxpayers who have a tax liability due


     4
       Feso Malufau was the only other co-defendant charged in
Count One, but he was not ordered to pay restitution. See
Judgment in a Criminal Case, filed 2/17/15 (dkt. no. 856), at 5.
Agent MacPherson states that they could not prove that Malufau
was involved in the tax scheme. [Sealed Exhibits, Exh. 7 (Decl.
of Special Agent Mark MacPherson (“MacPherson Decl.”)) at ¶ 3.]

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          to their involvement in Mr. Lee’s tax scheme. In
          other words, the IRS will not “double-collect”
          from the various defendants and taxpayers.

[MacPherson Decl. at ¶ 3.]

          Thus, Mr. Singh correctly advised Lee that his

liability for the restitution award would be joint and several

with the other responsible defendants.       Mr. Singh did not advise

Lee that the portion of the restitution award that he would

ultimately be responsible for would only be $50,000; that was

Lee’s assumption.    This Court CONCLUDES that Lee has failed to

carry his burden to prove that Mr. Singh’s performance fell below

an objective standard of reasonableness as to the liability for

the restitution award.      Even if the Court assumes that Mr. Singh

did advise Lee that his portion of the restitution award would

only be $50,000 and that Lee would have gone to trial if he had

known it would be more, Lee has not identified any evidence or

legal authority which shows that a trial would have resulted in a

sentence with a lower restitution award.        This Court therefore

CONCLUDES that Lee failed to carry his burden of proof as to the

prejudice factor of the Strickland analysis.        This Court

CONCLUDES that Lee has failed to establish that Mr. Singh

rendered ineffective assistance as to the joint liability for the

restitution award.




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     E.     History of Substance Abuse and Mental Illness

            Lee also argues that Mr. Singh rendered ineffective

assistance because he failed to raise Lee’s history of substance

abuse and mental illness as part of the defense.           Lee argues that

Mr. Singh could have used it as a mitigating factor to obtain a

lower sentence, or to obtain an acquittal by reason of insanity.

However, during sentencing, this Court found that Lee’s substance

abuse and mental health issues were not mitigating factors but

aggravating factors because they “would lead [Lee] to commit

other crimes or encourage [his] recidivism.”        [Trans. of 12/4/14

Sentencing (“Sentencing Trans.”), filed 1/27/15 (dkt. no. 837),

at 6.]    In addition, a defendant asserting an insanity defense

has a high burden of proof.      18 U.S.C. § 17 states:

            (a) Affirmative defense. – It is an affirmative
            defense to a prosecution under any Federal statute
            that, at the time of the commission of the acts
            constituting the offense, the defendant, as a
            result of a severe mental disease or defect, was
            unable to appreciate the nature and quality or the
            wrongfulness of his acts. Mental disease or
            defect does not otherwise constitute a defense.

            (b) Burden of proof. – The defendant has the
            burden of proving the defense of insanity by clear
            and convincing evidence.

Even if the Court assumes that Lee’s substance abuse and mental

illness issues rose to the level of “a severe mental disease or

defect,” he has not identified any evidence which indicates that

those issues rendered him “unable to appreciate the nature and

quality or the wrongfulness of his acts.”        This Court agrees with

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the Government that the extensive efforts Lee undertook to

conceal his criminal activity weigh heavily against a finding

that effective counsel could have raised a successful insanity

defense.

            This Court CONCLUDES that Lee has failed to carry his

burden to prove that Mr. Singh’s strategic decision not to

incorporate Lee’s substance abuse and mental illness issues into

Lee’s defense fell below an objective standard of reasonableness.

Further, Lee has also failed to show that the results of the

proceeding would have been different if Mr. Singh had done so.

This Court therefore CONCLUDES that Lee has failed to establish

that Mr. Singh rendered ineffective assistance by failing to

incorporate Lee’s substance abuse and mental illness issues into

Lee’s defense.

     F.     Failure to Withdraw Guilty Plea

            This Court also liberally construes the § 2255 Motion

as alleging that Mr. Singh rendered ineffective assistance

because he failed to follow Lee’s directions to withdraw the

guilty plea.   Lee alleges that, had Mr. Singh withdrawn the

guilty plea and taken the case to trial, they would have been

able to prove that Lee “did not actually do all 297 fraudulent

returns allegated [sic] that was shown as evidence” in the

meeting with Agent MacPherson.      [Mem. in Supp. of § 2255 Motion

at 7.]    Lee does not expressly state when he supposedly


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instructed Mr. Singh to withdraw his guilty plea.          However, he

appears to allege that he did so at some point prior to the

sentencing hearing.    See id. at 14 (alleging that counsel

“refused to withdraw his guilty plea, due to restitution, go over

his discovery and the evidence or Lee’s last request to delay

sentencing for purpose of reviewing his discovery” (emphasis

added)).   As previously stated, Lee entered his guilty plea on

July 30, 2014, and his sentencing was on December 4, 2014.            This

court accepted Lee’s guilty plea on August 14, 2014.          [Acceptance

of Plea of Guilty, Adjudication of Guilt and Notice of

Sentencing, filed 8/14/14 (dkt. no. 467).]        A reasonable

inference from Lee’s § 2255 Motion, read as a whole, is that he

alleges he directed Mr. Singh to withdraw his guilty plea at some

point after this Court accepted the plea, but before sentencing.

           A defendant may withdraw his guilty plea “after the

court accepts the plea, but before it imposes sentence if:

(A) the court rejects a plea agreement under Rule 11(c)(5); or

(B) the defendant can show a fair and just reason for requesting

the withdrawal.”    Fed. R. Crim. P. 11(d)(2).      Lee essentially

states that he wanted to go to trial and that he believed he

could have proven that he did not prepare all 297 tax returns

that were ultimately the basis of the restitution award.

However, “[a] defendant’s mere change of heart about pleading

guilty, or unsupported claims of innocence, are insufficient to


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allow him to withdraw his plea.”         United States v. Chong, 167 F.

Supp. 2d 1160, 1163 (D. Hawai`i 2001) (citing United States v.

Rios-Ortiz, 830 F.2d 1067, 1069-70 (9th Cir. 1987); United States

v. Turner, 898 F.2d 705, 713 (9th Cir. 1990)).5        Lee has not

identified any evidence which supports his position that he was

innocent as to some of the 297 fraudulent tax returns.           Moreover,

as this Court has previously discussed, the restitution award was

not based solely on fraudulent tax returns that Lee himself

prepared.

            This Court CONCLUDES that, even assuming that Lee did

instruct Mr. Singh to withdraw his guilty plea, Lee has not

proven: Mr. Singh’s strategic refusal to move for the withdrawal

of the plea fell below an objective standard of reasonableness;

and the result of the proceeding would have been different if



     5
         In Rios-Ortiz, the Ninth Circuit stated:

            [T]his court has repeatedly held that the decision
            to permit or deny withdrawal of a guilty plea is
            within the district court’s sound discretion.
            Accordingly, this court has not overturned a
            denial of a motion to withdraw a guilty plea
            absent something more than the defendant’s change
            of mind. Cf., Kadwell v. United States, 315 F.2d
            667 (9th Cir. 1963) (refusal to permit withdrawal
            of plea reversed where district court did not
            inform defendant of nature of accusation or
            consequences of plea; defendant was faced with
            serious charge, was far from home, and had only
            brief consultation with counsel appointed at time
            of arraignment).

830 F.2d at 1069–70 (some citations omitted).

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Mr. Singh had attempted to withdraw Lee’s guilty plea.           This

Court therefore CONCLUDES that Lee has failed to establish that

Mr. Singh rendered ineffective assistance by failing to file a

motion to withdraw Lee’s guilty plea.

     G.   Government Cooperation

          Lee also argues that Mr. Singh rendered ineffective

assistance because: 1) Mr. Singh advised him to cooperate with

the Government, even though Assistant United States Attorney

Jill Otake had determined that he was not a credible witness; and

2) Mr. Singh failed to seek a reduction in Lee’s sentence based

on Lee’s voluntary testimony before the grand jury in

August 2012.

          First, it is unclear what cooperation Lee asserts he

engaged in based on Mr. Singh’s advice.        Lee’s testimony before

the grand jury in August 2012 was before Mr. Singh’s

representation began, and therefore was not undertaken pursuant

to Mr. Singh’s advice.      Lee agreed to meet with Agent McPherson

on two separate occasions.      However, Agent McPherson describes

the meetings as “a ‘reverse proffer,’ or a meeting during which

[he] advised Mr. Lee and his attorney of the evidence against

[Mr. Lee].”    [MacPherson Decl. at ¶ 2.]      Even assuming that Lee

did have the opportunity to cooperate with the Government at

those meetings and that Lee attended those meetings on the advice

of counsel, Lee does not establish either how his participation


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in those meetings was detrimental to him or why Mr. Singh’s

advice to participate in those meetings was objectively

unreasonable.   Moreover, Lee has not shown that there is a

reasonable probability that the result of the proceedings would

have been different if Mr. Singh had not advised Lee to

participate in those meetings.      This Court therefore CONCLUDES

that Lee has failed to meet his burden of proof as to both parts

of the Strickland analysis.      Lee has failed to establish that

Mr. Singh rendered constitutionally ineffective assistance when

he advised Lee to cooperate with the Government.

          Turning to Lee’s argument that Mr. Singh rendered

ineffective assistance by failing to seek a reduction in Lee’s

sentence based on Lee’s testimony before the grand jury, this

Court notes that:

          A defendant’s cooperation may be taken into
          account in calculating a Guidelines sentencing
          range, after granting a motion for a departure
          under § 5K1.1 of the Guidelines. Alternatively,
          cooperation may be included as part of
          consideration of § 3553(a) factors after a
          Guidelines sentencing range is calculated. See
          e.g., United States v. Zolp, 479 F.3d 715, 721
          (9th Cir. 2007) (“the district court did not err
          by considering [defendant’s] cooperation as part
          of its analysis under 18 U.S.C. § 3553(a) rather
          than as part of its advisory guidelines
          calculation”). . . .

United States v. Ressam, 679 F.3d 1069, 1091 n.10 (9th Cir. 2012)

(some alterations in Ressam).      Only the Government may file a

motion for a downward departure based on substantial assistance


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to authorities.    See U.S.S.G. § 5K1.1 (“Upon motion of the

government stating that the defendant has provided substantial

assistance in the investigation or prosecution of another person

who has committed an offense, the court may depart from the

guidelines.” (emphasis added)).      Thus, Mr. Singh could not file a

motion for a downward departure based on Lee’s grand jury

testimony.    At sentencing, Mr. Singh did argue that this Court

should consider Lee’s grand jury testimony in determining Lee’s

sentence.    In response to the Government’s argument that the

Court should impose a term of imprisonment on the high end of

Lee’s Guidelines sentencing range, Mr. Singh argued:

             Judge, we will be asking this court to impose a
             sentence on the lower end, and this is the reason
             why: I’m his second attorney. My understanding is
             that at one point he did cooperate. He did talk
             to IRS agents. He did come out here. He went
             before the grand jury.

[Sentencing Trans. at 8-9.]

             Because Mr. Singh could not file a § 5K1.1 motion on

Lee’s behalf, and he did argue that this Court should consider

Lee’s grand jury testimony within the § 3553(a) factors, this

Court CONCLUDES that Lee has failed to establish that Mr. Singh’s

performance fell below an objective standard of reasonableness as

to the effect of Lee’s grand jury testimony on his sentence.               In

light of this Court’s ruling, it does not need to address the

second Strickland factor.      This Court CONCLUDES that Lee has

failed to establish that Mr. Singh rendered ineffective

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assistance as to the grand jury testimony issue.

        H.     Information Given to the Probation Office

               Lee alleges that Mr. Singh rendered ineffective

assistance because Mr. Singh instructed him to give the United

States Probation Office false information.         Lee alleges that

Mr. Singh instructed him to falsely present himself to the

Probation Office as a victim who feared the USO Family because it

would make him appear more sympathetic at sentencing.           [Mem. in

Supp. of § 2255 Motion at 12, 14.]        The record, however, does not

support Lee’s claim that Mr. Singh told him to lie to the

Probation Office.6

               The PSR states that “Lee was interviewed by

investigators on multiple occasions between 04/11/2012 and

07/14/2012.”      [PSR at ¶ 26a.]   During these interviews, Lee

indicated that he was intimidated by the USO inmates, and he was

afraid that they would hurt him if he did not work with them or

give them money.      Lee even stated that he relocated to Las Vegas

after his release so that USO could not control him and because

he feared for his safety.       [PSR at ¶ 26e.]    Lee made these

statements long before Mr. Singh represented him in the instant

case.       If Lee was lying at that time, it was not pursuant to any

alleged advice from Mr. Singh.       Lee does not point to any


        6
       Although not necessary to the analysis of this issue, the
Court notes that Mr. Singh denies telling Lee to lie to the
Probation officer. [Singh Decl. at ¶ 10.]

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specific information about Mr. Singh’s alleged advice that Lee

lie to the Probation officer about being a victim of USO.

Further, based on Lee’s 2012 statements, his allegation that

Mr. Singh advised him to lie about being a victim of USO is

inherently implausible.

          Even if the Court assumes that Lee’s 2012 statements

about USO were false and that Mr. Singh somehow encouraged Lee to

continue to paint himself falsely as a victim of USO, Lee has not

shown how the result of the proceedings would have been different

but for the allegedly unprofessional advice.        This Court

therefore CONCLUDES that Lee has failed to carry his burden of

proof as to both parts of the Strickland analysis.          This Court

CONCLUDES that Lee has failed to establish that Mr. Singh

rendered ineffective assistance by advising Lee to give false

information to the Probation Office.

     I.   Failure to Request a Continuance of Lee’s Sentencing

          Lee alleges that Mr. Singh rendered ineffective

assistance because he failed to request a continuance of Lee’s

sentencing hearing to allow him to review the discovery with Lee.

Even if the Court assumes that Mr. Singh should have requested a

continuance, Lee has not shown that the failure to request a

continuance was prejudicial to Lee.

          As previously noted, although Lee contends that

Mr. Singh failed to provide him with the discovery, Lee himself


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states that an IRS agent – presumably Agent MacPherson –

eventually provided him with the discovery.         Thus, if there was

any favorable evidence in the discovery that could have been

presented at Lee’s sentencing if he had more time to review the

discovery with Mr. Singh, Lee would have been aware of that

evidence by the time he filed his § 2255 Motion.            Lee’s position

is that he would have been able to show at sentencing that he was

not responsible for all of the bribes and IRS losses that were

attributed to him.    However, this Court has previously concluded

that Lee failed to show what errors Mr. Singh allegedly made in

calculating the amount of bribes that he believed Lee would be

held responsible for.       Lee has also claimed that he did not

prepare and file all of the 297 fraudulent tax returns attributed

to him for purposes of the restitution award.         However, this

Court has noted that the fact that Lee was not the person who

actually prepared or filed certain fraudulent returns does not

preclude criminal responsibility for them.         See supra

Section II.C.   This Court therefore CONCLUDES that Lee has failed

to establish that the result of his proceedings would have been

different if Mr. Singh had requested a continuance of Lee’s

sentencing to review the discovery with him.         This Court

CONCLUDES that Lee has failed to establish that Mr. Singh

rendered ineffective assistance by failing to request a

continuance of Lee’s sentencing.


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     J.      Failure to Make Objections

             Finally, Lee contends that Mr. Singh rendered

ineffective assistance because Mr. Singh failed to raise

objections related to the sentencing proceeding, such as to the

draft PSR, the application of the Guidelines to the facts of this

case, or the Government’s sentencing statement.            Mr. Singh states

that he did not file objections to the PSR “because there were no

viable objections to be made.”      [Singh Decl. at ¶ 13.]         Lee does

not identity what specific objections a reasonable attorney would

have made.

             This Court FINDS that, under the circumstances which

existed at the time of sentencing, Mr. Singh’s decision not to

make any objections was a litigation strategy decision that was

within the range of professionally competent assistance.             Because

Mr. Singh’s decision was reasonable, this Court does not need to

address the second Strickland factor.       This Court CONCLUDES that

Lee has failed to establish that Mr. Singh rendered ineffective

assistance because he failed to raise any objections related to

sentencing.

     K.      Summary

             This Court has rejected all of the alleged instances of

ineffective assistance.     This Court has carefully considered

Lee’s § 2255 Motion as a whole and, to the extent that the § 2255

Motion alleges any other instances of ineffective assistance that


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this Court did not specifically address in this Order, this Court

also CONCLUDES that Lee failed to carry his burden of proof as to

those allegations.    Having rejected all of Lee’s allegations of

ineffective assistance, this Court DENIES Lee’s § 2255 Motion as

to Ground Two.

III. Certificate of Appealability

          This district court has stated that:

               In dismissing a § 2255 motion, the court must
          also address whether [defendant/petitioner] should
          be granted a certificate of appealability (“COA”).
          See R. 11(a), Rules Governing Section 2255
          Proceedings (providing that “[t]he district court
          must issue or deny a certificate of appealability
          when it enters a final order adverse to the
          applicant”). A COA may issue only if the
          petitioner “has made a substantial showing of the
          denial of a constitutional right.” 28 U.S.C.
          § 2253(c)(2).

               “The standard for a certificate of
          appealability is lenient.” Hayward v. Marshall,
          603 F.3d 546, 553 (9th Cir. 2010) (en banc),
          overruled on other grounds by Swarthout v. Cooke,
          562 U.S. 216 (2011). The petitioner is required
          to demonstrate only “that reasonable jurists could
          debate the district court’s resolution or that the
          issues are adequate to deserve encouragement to
          proceed further.” Id. (citation and internal
          quotation marks omitted). The standard “requires
          something more than the absence of frivolity, but
          something less than a merits determination.” Id.
          (internal quotation marks omitted).

               The court carefully reviewed [the
          defendant/petitioner’s] assertions and gave him
          every benefit by liberally construing them. Based
          on the above analysis the court finds that
          reasonable jurists could not find the court’s
          rulings debatable.

Leon v. United States, Civ. No. 15-00099 JMS-BMK, 2015 WL

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3965895, at *9-10 (some alterations in Leon).        This Court FINDS

that reasonable jurists would not find that its rulings regarding

Lee’s § 2255 Motion are debatable.       This Court therefore DENIES

the issuance of a certificate of appealability.

                               CONCLUSION

          On the basis of the foregoing, Lee’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody, filed June 20, 2016, is HEREBY DENIED.

In addition, this Court DENIES a certificate of appealability.

          IT IS SO ORDERED.

          DATED AT HONOLULU, HAWAII, January 30, 2017.



                                   /s/ Leslie E. Kobayashi
                                  Leslie E. Kobayashi
                                  United States District Judge




UNITED STATES OF AMERICA VS. ROBIN LEE; CR 13-00860 LEK; CV 16-
00331 LEK-RLP; ORDER DENYING MOTION TO CORRECT SENTENCE UNDER 28
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